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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 14-1109V
                                      Filed: August 29, 2016
                                        Not for Publication


*************************************
PURVI DESAI-LEYVA,                         *
                                           *
              Petitioner,                  *
                                           *     Attorneys’ fees and costs decision;
 v.                                        *     respondent does not object
                                           *
SECRETARY OF HEALTH                        *
AND HUMAN SERVICES,                        *
                                           *
              Respondent.                  *
                                           *
*************************************
Nancy R. Meyers, Greensboro, NC, for petitioner.
Julia W. McInerny, Washington, DC, for respondent.

MILLMAN, Special Master


                DECISION AWARDING ATTORNEYS’ FEES AND COSTS 1

        On November 13, 2014, petitioner filed a petition under the National Childhood Vaccine
Injury Act, 42 U.S.C. §§ 300aa-10–34 (2012) (“Vaccine Act”) alleging she suffered injuries
including panuveitus, uveitis, and vasculitis as a result of her receipt of the diphtheria-tetanus-
acellular pertussis (“Tdap”) vaccine on January 20, 2012. On March 4, 2016, the undersigned
issued a decision awarding compensation to petitioner based on the parties’ stipulation.

        On August 29, 2016, petitioner filed a motion for attorneys’ fees and costs. Petitioner

1
  Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’ website, in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012)
(Federal Management and Promotion of Electronic Government Services). Vaccine Rule 18(b) states that
all decisions of the special masters will be made available to the public unless they contain trade secrets
or commercial or financial information that is privileged and confidential, or medical or similar
information whose disclosure would constitute a clearly unwarranted invasion of privacy. When such a
decision is filed, petitioner has 14 days to identify and move to redact such information prior to the
document=s disclosure. If the special master, upon review, agrees that the identified material fits within
the banned categories listed above, the special master shall redact such material from public access.
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requests a total award of $22,813.97 in attorneys’ fees and costs. In compliance with General
Order #9, petitioner states she incurred no out-of-pocket expenses.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C. §
300 aa-15(e). Based on the reasonableness of petitioner’s request and the lack of opposition, the
undersigned GRANTS petitioner’s application for attorneys’ fees and costs.

        Accordingly, the undersigned awards the total amount of $22,813.97, as a lump sum
in the form of a check payable jointly to petitioner and Ward Black Law.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith. 2


IT IS SO ORDERED.


Dated: August 29, 2016                                                     s/ Laura D. Millman
                                                                             Laura D. Millman
                                                                               Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
